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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NORTH DAKOTA

 In re:
                                                      Chapter 11
 VANITY SHOP OF GRAND FORKS, INC.,
                                                      Case No. 17-30112
                                Debtor.

                           B.E. CAPITAL’S JOINDER TO
                      COMMITTEE’S CONFIRMATION OBJECTION

          B.E. Capital Management Fund LP joins in the confirmation objection of the Official

Committee of Unsecured Creditors, and states:

          The Debtor’s disclosure statement projects unsecured creditors will achieve an

approximately 31% recovery on their claims. That recovery percentage is astonishingly low, given

the claims and causes of actions against insiders identified in the Committee’s derivative standing

motion and the merits of the Committee’s objection to TGC’s proof of claim. Confirmation should

be denied so that the case can be converted to one under chapter 7, and the Committee’s claims,

causes of action, and objections can be prosecuted by an objective estate representative not selected

by the Debtor or insiders.

Dated: May 16, 2018                                   STORCH AMINI PC


                                                      /s/ Jeffrey Chubak
                                                      Jeffrey Chubak (admitted pro hac vice)
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                                                      Management Fund LP
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 16, 2018, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, causing notice of such filing to be sent to all parties that have
appeared in this chapter 11 case.
                                                      /s/ Jeffrey Chubak
